                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                            WESTERN DIVISION



 UNITED STATES OF AMERICA,
               Plaintiff,                               No. CR 11-4065-MWB
 vs.                                         MEMORANDUM OPINION AND
                                                ORDER REGARDING THE
 ANGEL AMAYA,                               IMPOSITION OF SANCTIONS AND
                                           THE PROSECUTION’S MOTION TO
               Defendant.                            RECONSIDER
                                ____________________


       On April 10, 2012, I entered a Memorandum Opinion And Order Regarding
Defendant Angel Amaya’s Motion To Suppress GPS System (docket no. 350), in which
I denied the motion to suppress, but found that Special Agent Jensen had acted in bad faith
in failing to disclose the use of GPS monitoring in his reports regarding surveillance of
Amaya. I set a hearing on sanctions for the prosecution’s discovery violation for April 20,
2012, and requested briefing on the issue of what sanctions I may and should impose.
Subsequently, the prosecution, on April 18, 2012, filed a Motion To Reconsider (docket
no. 362) my finding that the agent acted in bad faith, and included in this briefing its
arguments regarding what sanctions, if any, should be imposed. I moved the hearing on
sanctions to April 30, 2012, and ordered that Amaya file any response to the prosecution’s
Motion To Reconsider by April 26, 2012. On April 19, 2012, Amaya filed his brief
(docket no. 365) responding to my request for briefing on what sanctions should be
imposed. The prosecution filed a response (docket no. 368) to Amaya’s brief on April 24,
2012, and Amaya filed his resistance (docket no. 374) to the prosecution’s Motion To
Reconsider on April 26, 2012.



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       On April 30, 2012, I held a hearing on sanctions and the prosecution’s Motion To
Reconsider. Special Agent David Jensen testified, and both parties presented argument.
I orally withdrew my finding that Special Agent Jensen acted in bad faith but indicated that
a written order would follow, explaining my reasoning. After hearing Special Agent
Jensen’s testimony, I am convinced that, although he did not refer to the use of GPS
devices in his reports, he did so in order to comply with the directives he had received
from his DEA supervisors. Special Agent Jensen testified that, several years ago, after a
few incidents in which agents referred to GPS devices in their reports, his supervisor
specifically instructed all agents not to mention GPS devices in their reports. Special
Agent Jensen has written his reports in compliance with that order ever since. Also, I find
that the DEA policy I reviewed is, itself, somewhat confusing, in that it, on the one hand,
directs agents to reveal what information they observed, but not how; yet, on the other
hand, provides that agents should not create a situation in which defense counsel could
suggest they are hiding evidence. Thus, any mistake on Special Agent Jensen’s part in
reading the policy was an honest one due to the wording of the policy, rather than bad
faith. In its Motion To Reconsider, the prosecution also included excerpts from Special
Agent Jensen’s testimony at the preliminary detention hearing (which had not previously
been provided to me), in which Special Agent Jensen indicated that he had used electronic
surveillance of Amaya, which lends further credence to the prosecution’s argument that
Special Agent Jensen did not intend to hide evidence from Amaya. I am persuaded that
Special Agent Jensen, when he did not refer to GPS devices in his reports, acted to comply
with DEA directives, not in bad faith to hide evidence from the defense. Therefore, the
prosecution’s Motion To Reconsider my finding of bad faith (docket no. 362) is granted.
I withdraw that portion of my opinion (docket no. 350 at 23-24), in which I found that
Special Agent Jensen acted in bad faith.

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       I also impose no sanctions on the prosecution for its failure to disclose the use of
GPS devices. I have evaluated the factors that district courts should consider when
crafting sanctions for discovery violations, as identified by the Eighth Circuit Court of
Appeals in United States v. Pherigo, 327 F.3d 690 (8th Cir. 2003): “(1) whether the
Government acted in bad faith and the reason(s) for delay in production; (2) whether there
is any prejudice to the defendant; and (3) whether any lesser sanction is appropriate to
secure future Government compliance.” See id. at 694. First, I have determined that
there was no bad faith on the part of the prosecution, as explained above. Second, the
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prejudice to Amaya has, for the most part, been remedied by the mistrial and the


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           Amaya devotes much of his briefing to arguing that I erred, in my April 10, 2012,
Memorandum Opinion And Order, in determining that no Brady or Jencks Act violation
occurred when the prosecution failed to disclose the use of GPS monitoring. As to his
Brady argument, even if the evidence regarding the use of GPS devices was favorable and
material to Amaya (and Amaya has not argued convincingly that it is), the remedy for a
Brady violation would be a new trial so that Amaya would have the opportunity to take
advantage of this newly disclosed evidence and respond to it. See United States v.
Porchay, 651 F.3d 930, 942 (8th Cir. 2011); United States v. Babiar, 390 F.3d 598, 600
(8th Cir. 2004) (“First, to the extent the prosecution violated Brady by failing to disclose
evidence favorable to [the defendant], the district court properly remedied any Brady error
before the second trial. As the district court stated, ‘Defendant received a full and
adequate remedy when he was granted a new trial.’”). I granted Amaya a mistrial in
December, and the prosecution disclosed GPS-related evidence in January. Amaya’s new
trial is scheduled to begin on May 29, 2012. He will have had plentiful opportunity to take
advantage of the GPS-related evidence by then.
         Furthermore, there is no Jencks Act violation. Amaya maintains that the
prosecution violated Jencks by failing to disclose Special Agent Jensen’s surveillance
reports that were created after Amaya’s second trial. Therefore, Amaya urges me to strike
Special Agent Jensen as a witness. These statements by Special Agent Jensen were not in
existence at the time of the trial but, rather, were produced in January to provide more
information to the defense about how GPS tracking was used. The Jencks Act only applies
                                                                              (continued...)

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opportunity for Amaya to file a motion to suppress, as I have already noted in my prior
opinion (docket no. 350). While I am sympathetic to Amaya’s arguments regarding the
additional cost that he has endured as a result of prolonged litigation, I note that his
counsel has now been appointed, which should help to alleviate the continuing financial
strain of trial. Third, I do not believe a sanction is necessary to ensure future compliance.

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         (...continued)
to statements of witnesses in the prosecution’s possession, and these reports were not in
the prosecution’s possession at the time of Amaya’s trial. See United States v. Stroud, 673
F.3d 854, 863 (8th Cir. 2012) (“‘The Jencks Act requires that the prosecutor disclose any
statement of a witness in the possession of the United States which relates to the subject
testified to by the witness on direct examination.’” (quoting United States v. Douglas, 964
F.2d 738, 741 (8th Cir. 1992) and citing 18 U.S.C. § 3500(b))). Again, even if the
reports somehow were Jencks Act material, I have already granted Amaya the broadest
remedy available under the Jencks Act: a mistrial. See 18 U.S.C. § 3500(d) (“If the
United States elects not to comply with an order of the court under subsection (b) or (c)
hereof to deliver to the defendant any such statement, or such portion thereof as the court
may direct, the court shall strike from the record the testimony of the witness, and the trial
shall proceed unless the court in its discretion shall determine that the interests of justice
require that a mistrial be declared.”). There is no reason to strike Special Agent Jensen
as a witness when Amaya has already received the surveillance reports well in advance of
his new trial date.
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         I also address a concern that Amaya raises in his resistance (docket no. 374) to
the prosecution’s Motion To Reconsider, which appears to be due to some confusion about
new evidence produced by the prosecution. In its Motion To Reconsider, the prosecution
stated that its motion “is based, in part, on evidence that was not presented to the Court
during the suppression hearing that sheds additional light on Special Agent Jensen’s
intent in this matter.” (Docket no. 362 at 3.) Amaya took this statement to mean that
there is additional evidence that the prosecution has not revealed to the defense, but I
disagree. It is my understanding that the prosecution refers only to evidence not
previously revealed to the Court, which the prosecution provided in its Motion To
Reconsider to help me understand whether Special Agent Jensen acted in bad faith:
namely, Special Agent Jensen’s preliminary detention hearing testimony and Exhibit 1, a
copy of one of Special Agent Jensen’s reports that refers to the Title III affidavit.

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Special Agent Jensen indicated that DEA policy has changed, after United States v. Jones,
132 S. Ct. 945 (2012), so that agents will now indicate the use of GPS devices in their
reports. Therefore, I have decided not to impose sanctions in this case.
      THEREFORE, the prosecution’s Motion To Reconsider my finding of bad faith
(docket no. 362) is granted. I withdraw that portion of my opinion (docket no. 350 at 23-
24), in which I found that Special Agent Jensen acted in bad faith. Additionally, I impose
no sanctions on the prosecution.
      IT IS SO ORDERED.
      DATED this 1st day of May, 2012.


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                                                MARK W. BENNETT
                                                U. S. DISTRICT COURT JUDGE
                                                NORTHERN DISTRICT OF IOWA




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